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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                          Case No. 20-cv-21457-KMW

      ANTHONY SWAIN, et al.,
                   Plaintiffs,

                    v.

      DANIEL JUNIOR, in his official capacity as
      Director of the Miami-Dade Corrections and
      Rehabilitation Department, and
      MIAMI-DADE COUNTY,
                            Defendants.
                                                 /

          DEFENDANTS’ MOTION TO DISMISS COUNT I OF THE COMPLAINT
              FOR FAILURE TO EXHAUST ADMINISTRATIVE REMEDIES
             Daniel Junior, in his official capacity as Director of the Miami-Dade Corrections and
      Rehabilitation Department (MDCR), and Miami-Dade County move under Federal Rule
      of Civil Procedure 12(b) to dismiss Count I of the Complaint [ECF No. 1] for failure to ex-
      haust administrative remedies as required by 42 U.S.C. § 1997e(a) of the Prison Litigation
      Reform Act (PLRA).
                                                   BACKGROUND
             The Plaintiffs are seven pretrial detainees who are currently conﬁned in three units
      at MDCR’s Metro West Detention Center. Compl. ¶¶ 9-15. They bring this prospective
      class action on behalf of inmates housed at Metro West, alleging unrealized health risks
      posed by the COVID-19 pandemic. They seek two remedies: (1) declaratory and injunctive
      relief under 42 U.S.C. § 1983 for violations of their Eighth and Fourteenth Amendment
      rights (Count I); and (2) entry of a writ of habeas corpus under 28 U.S.C. § 22411 effecting
      the immediate release of all members of what they have called the “Medically Vulnerable
      Subclass” of detainees (Count II). Id. ¶¶ 82-83, 112-26.
             Because this suit concerns prison life, because the suit asserts a claim pursuant to

      1   Section 2241 has its own requirement that a habeas petitioner first exhaust all available state court reme-
          dies for consideration of his constitutional claim. See Braden v. 30th Judicial Cir. Ct. of Ky., 410 U.S. 484,
          489-92 (1973); Skinner v. Wiley, 355 F.3d 1293, 1295 (11th Cir. 2004). As the Defendants discuss in their
          supplemental brief on habeas relief [ECF No. 35] and the response to the motion for preliminary injunc-
          tion ﬁled contemporaneously with this motion, the Plaintiffs have not exhausted those remedies.


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      federal statute, and because each of the seven Plaintiffs was conﬁned at Metro West when
      it was ﬁled, it is subject to the limitations and restrictions of the PLRA. The relevant limi-
      tation is the PLRA’s requirement that an inmate exhaust available administrative remedies
      before ﬁling suit. 42 U.S.C. § 1997e(a). Not one of the seven Plaintiffs has satisﬁed that re-
      quirement, so Count I must be dismissed with prejudice.
                                               ARGUMENT
            “There is no question that exhaustion is mandatory under the PLRA and that un-
      exhausted claims cannot be brought in court.” Jones v. Bock, 549 U.S. 199, 211 (2007). The
      PLRA’s exhaustion requirement reads: “No action shall be brought with respect to prison
      conditions under section 1983 of this title, or any other Federal law, by a prisoner conﬁned
      in any jail . . . until such administrative remedies as are available are exhausted.” 42 U.S.C.
      § 1997e(a). This requirement “applies to all inmate suits about prison life, whether they
      involve general circumstances or particular episodes, [] and whether they allege excessive
      force or some other wrong,” Porter v. Nussle, 534 U.S. 516, 532 (2002), and regardless of the
      relief sought, Booth v. Churner, 532 U.S. 731, 741 (2001). See Farmer v. Brennan, 511 U.S. 825,
      847 (1994) (advising that in cases seeking injunctive relief to address “current” prison con-
      ditions, inmates are not “free to bypass adequate internal prison procedures and bring
      their health and safety concerns directly to court”).
            “[T]he PLRA’s text suggests no limits on an inmate’s obligation to exhaust,” except
      that he need only exhaust those remedies that are “available” to him. Ross v. Blake, 136 S.
      Ct. 1850, 1856 (2016). A court has no discretion to excuse an inmate’s failure to exhaust,
      “even to take special circumstances into account.” Id. at 1856-57 (cleaned up); see Nellson
      v. Barnhart, No. 20-0756, 2020 WL 1890670, at *3-5 (D. Colo. Apr. 16, 2020) (denying mo-
      tion for temporary restraining order alleging COVID-19 concerns because inmate failed
      to exhaust under the PLRA before ﬁling suit).
            Failure to exhaust is an affirmative defense that the Eleventh Circuit explicitly di-
      rects defendants to raise in a motion to dismiss. Whatley v. Warden, Ware State Prison, 802
      F.3d 1205, 1209 (11th Cir. 2015); see Bryant v. Rich, 530 F.3d 1368, 1374-75 (11th Cir. 2008)
      (“[A]n exhaustion defense . . . is not ordinarily the proper subject for a summary judgment;
      instead, it should be raised in a motion to dismiss, or be treated as such if raised in a motion
      for summary judgment.” (cleaned up)). Once the defense is raised, it “should be treated
      as a matter in abatement,” meaning that “procedurally the defense is treated ‘like a defense



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      for lack of jurisdiction,’ although it is not a jurisdictional matter.” Turner v. Burnside, 541
      F.3d 1077, 1082 (11th Cir. 2008) (quoting Bryant, 530 F.3d at 1374). Critically, “[t]he ques-
      tion of exhaustion is a threshold matter,” Oliver v. Warden, 761 F. App’x 960, 963 (11th Cir.
      2019), that a court “must address” before it may consider the merits of a case, Chandler
      v. Crosby, 379 F.3d 1278, 1286 (11th Cir. 2004).
             A two-step framework governs the analysis of a motion to dismiss for failure to ex-
      haust administrative remedies. See Turner, 541 F.3d at 1082-83. At step one, a district court
      accepts as true the plaintiff’s alleged facts relating to his exhaustion of administrative rem-
      edies. Id. at 1082. If the plaintiff’s version of the facts entitles the defendant to dismissal,
      the court may dismiss the complaint at that step. Id. If it doesn’t, the court proceeds to
      step two, where it must consider the evidence presented and make speciﬁc factual ﬁndings
      on the exhaustion question, resolving any factual disputes between the parties’ versions.
      Id. The court must then decide, based on the speciﬁc factual ﬁndings it made, whether the
      plaintiff exhausted his available administrative remedies. Id. at 1083.2
             A.     To exhaust MDCR’s available administrative procedures under the PLRA,
                    an inmate must timely ﬁle a grievance and timely appeal that grievance if
                    it is rejected.
             “The PLRA ‘requires proper exhaustion’ of ‘critical procedural rules’ governing the
      grievance process,” Dimanche v. Brown, 783 F.3d 1204, 1210 (11th Cir. 2015) (quoting Wood-
      ford v. Ngo, 548 U.S. 81, 95 (2006)), and demands that “prisoners must ‘properly take each
      step within the [prison’s] administrative process,’” Bryant, 530 F.3d at 1372 (quoting John-
      son v. Meadows, 418 F.3d 1152, 1158 (11th Cir. 2005))). MDCR’s “critical procedural rules”
      take the form of an “established[,] multi-step grievance procedure—applicable to all in-
      mates, regardless of their status—that allows inmates to complain about the conditions
      of conﬁnement.” Myles v. Green, 557 F. App’x 901, 903 (11th Cir. 2014). The procedure is
      outlined in the Department’s Standard Operating Procedure No. 15-001, attached as Ex-
      hibit 1. The section dealing with inmate access to the grievance process provides:
               Inmate Grievance forms shall be accessible to inmates in all housing areas.
               The forms are available in English, Spanish, and Creole. Inmates seeking
               to grieve an issue shall:

      2   Considering that this is a proposed class action, the County notes Eleventh Circuit law that “a class of
          prisoner-plaintiffs certiﬁed under Rule 23(b)(2) satisﬁes the PLRA’s administrative exhaustion require-
          ment through ‘vicarious exhaustion.’” Chandler, 379 F.3d at 1287. In other words, “when one or more class
          members has exhausted his administrative remedies with respect to each claim raised by the class,” that
          exhaustion is imputed to the entire class. Id. (cleaned up). That said, no class has been certiﬁed. What’s
          more, the County will show that no Plaintiff has exhausted, meaning there’s nothing to impute.

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              A. Complete the Inmate Grievance form;
              B. Place the completed Inmate Grievance form into any inmate request
                 drop box within 10 calendar days from the date of the incident.
      DSOP 15-001 § V, at 2.
           Staff are required to provide an inmate with a grievance form upon request and as-
      sist the inmate with ﬁlling it out, if needed. Id. § VII(A), at 3. Once submitted, a grievance
      is forwarded to a counselor for review who must input it into MDCR’s system. Id. § VII(B),
      at 3-4. After the facility responds to a grievance, a dissatisﬁed inmate may appeal within
      two days of his receipt of the response:
              Inmates have the right to appeal a grievance response; however, an inmate
              that has signed and accepted a grievance resolution cannot appeal the re-
              sponse at a later date.
              Inmate Grievance Response Appeal forms are accessible to inmates in all
              housing units. Inmates shall complete an Inmate Grievance Response Ap-
              peal form and place it into an inmate request drop box within two calendar
              days from receipt of the grievance response. Assistance shall be provided
              to inmates in preparing the appeal . . . .
              The respective Division Chief or the IMP [Inmate Medical Provider] Direc-
              tor shall provide a response to the inmate grievance appeal within seven
              calendar days of receiving the Inmate Grievance Response Appeal form.
              The decision of the Division Chief or IMP Director is ﬁnal and there shall
              be no further appeal.
      Id. § XIII, at 6-7. The MDCR Inmate Handbook outlines these procedures, as well:
              You can ﬁle a general grievance without ﬁling a complaint. To ﬁle a general
              grievance, you must ﬁll out an Inmate Grievance Form. The forms are avail-
              able in all housing areas. If you need help writing your grievance, ask a coun-
              selor, officer, or any staff for. Give the completed grievance form to a coun-
              selor, officer, or staff within 10 workdays from when the situation/incident
              happened. If your complaint is about a staff member, give the form to any
              other staff member or your counselor. . . .
              If you do not agree with the result [of a grievance], you may reject it and/or
              request an appeal. You must then sign the form indicating your decision.
              If you do not sign the form, the grievance process will end. . . .
              If you want to appeal, you must ﬁll out a MDCR Inmate Grievance Appeal
              Form within 2 workdays after you receive the grievance resolution. You will
              receive the appeal response within 7 workdays. The grievance appeal deci-
              sion is ﬁnal.
      Inmate Handbook 7, attached as Exhibit 2.
           The DSOP also provides an emergency grievance procedure, designating several cate-
      gories of “emergency complaints/grievances” that require “immediate resolution.” DSOP

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      15-001 § VIII, at 4. These categories include “[e]mergent medical, dental, and/or mental
      health issues” and “[i]mminent safety issues.” Id. When a staff member receives an emer-
      gency complaint or grievance from an inmate, that staff member shall “immediately” de-
      liver a copy of the grievance to the Inmate Medical Provider (for medical, dental, or mental
      health grievances) or the Shift Supervisor/Commander (for all other grievances) for reso-
      lution. Id. § VIII(A)(1). Then, the burden falls to the Facility/Bureau Supervisor or IMP/
      Director of Patient Care Services to investigate and prepare the written response within
      seven calendar days. Id. § VIII(C)-(D), at 4-5; see also Inmate Handbook 7-8 (“Emergency
      complaints or grievances that will be responded to immediately include: . . . Immediate
      medical and/or mental health issues” and “Safety issues . . . .” (emphasis added)).
           In short, to exhaust MDCR’s available administrative remedies for purposes of sat-
      isfying the PLRA, an inmate must timely ﬁle a grievance, and then timely appeal the reso-
      lution of that grievance. This procedure has been upheld time and again by the Eleventh
      Circuit and courts in this District disposing of complaints for failing to exhaust. See, e.g.,
      Myles, 557 F. App’x at 903; Bure v. Miami-Dade Corr. Dep’t, 507 F. App’x 904 (11th Cir. 2013);
      Wilson v. Greaves, No. 16-20651, 2016 WL 11643979, at *1 (S.D. Fla. Dec. 30, 2016); Ordunez
      v. Miami-Dade Corr. & Rehab. Dep’t, No. 14-23816, 2016 WL 11047148, at *7 (S.D. Fla. Jan.
      8, 2016), report and recommendation adopted, 2016 WL 11047149 (S.D. Fla. Feb. 22, 2016);
      Francis v. Miami-Dade Dep’t of Corr., No. 07-21817, 2007 WL 3406764, at *1 (S.D. Fla. Nov.
      13, 2007).
           B.      The Plaintiffs did not exhaust administrative remedies because grievances were
                   available, and the Plaintiffs didn’t ﬁle any.
                   1.   Supreme Court precedent bars one of the Plaintiffs’ proffered
                        excuses for not exhausting; the other excuse is equivocal at best.
           At step one of Turner’s two-step framework, the Plaintiffs concede that they did not
      complete MDCR’s grievance process. They contend, however, that they should be relieved
      of the obligation to exhausts because MDCR’s administrative remedies were “unavailable.”
      Compl. ¶ 105. First, they allege that they “repeatedly asked for grievance forms” but “[j]ail
      employees denied their requests by explaining that paper grievance forms were unavail-
      able.” Id. They admit that “a small amount of forms became available on” April 4, the day
      before the Complaint was ﬁled, but “many” Plaintiffs “were not able to access them, and
      no one was able to access enough of them to submit a grievance on each issue.” Id. Second,
      they allege some number of them were able to ﬁle a grievance a day earlier, on April 3, but


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      “the typical grievance procedure would take too long to result in any changes to [their]
      conﬁnement that could protect them from imminent bodily injury and death.” Id.
            a. The latter excuse is invalid on its face, so the County addresses that one ﬁrst. The
      Supreme Court, in its most recent excursion on the issue of PLRA exhaustion, explained
      that “the only limit to § 1997e(a)’s mandate is the one baked into its text: An inmate need
      exhaust only such administrative remedies as are ‘available.’” Ross, 136 S. Ct. at 1858. With
      that as the jumping-off point, the Court identiﬁed three limited circumstances in which
      a grievance procedure could be deemed “unavailable”: (1) where officials are “unable or
      consistently unwilling to provide any relief to aggrieved inmates”; (2) where the jail’s pro-
      cedures are “so confusing that no reasonable prisoner can use them”; and (3) where offi-
      cials “thwart” inmates from invoking the grievance procedure “through machination,
      misrepresentation, or intimidation.” Id. at 1859-60.
            The list ends at three; there is no fourth circumstance. See Pearson v. Taylor, 665 F.
      App’x 858, 868 (11th Cir. 2016) (rejecting plaintiff’s unavailability arguments because they
      “do not appear to fall within any of [Ross’s] three ‘exceptions’ to exhaustion”). So, claiming
      “the typical grievance procedure would take too long,” Compl. ¶ 105, is not a valid excuse
      that obviates the mandatory exhaustion requirement. This excuse sounds awfully close
      to advocating for a futility exception, which this Circuit’s law foreclosed long before Ross.
      See Higginbottom v. Carter, 223 F.3d 1259, 1261 (11th Cir. 2000) (exhaustion “cannot be
      waived based upon the prisoner’s belief that pursuing administrative procedures would
      be futile”).
            The Plaintiffs’ fears of “imminent danger of serious injury or death,” Compl. ¶ 106,
      do not grant them a ticket to sail past exhaustion. Quite the opposite, the Eleventh Circuit
      has ruled. See Bracero v. Sec’y, Fla. Dep’t of Corr., 748 F. App’x 200, 204 (11th Cir. 2018), cert.
      denied sub nom. Bracero v. Inch, 139 S. Ct. 1631 (2019). The plaintiff in Bracero argued that
      his complaint “should not have been dismissed because he alleged imminent danger.” Id.
      The court deemed this effort to overcome exhaustion “unavailing”: “exhaustion is a pre-
      requisite for any prisoner suit.” Id. The grievance process was available to the plaintiff
      and the plaintiff did not follow it, so his complaint was properly dismissed for failing to
      exhaust administrative remedies. Id. “Any prisoner suit” means any prisoner suit—includ-
      ing this one. If a plaintiff’s claim that an administrative procedure was not capable of use
      can’t be squared with one of the “three kinds of circumstances” enumerated in Ross, then



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      as far as the PLRA is concerned, it’s not worth the paper it’s written on.
           Both cases the Plaintiffs cite in support of this nonexistent excuse, Fletcher v. Menard
      Corr. Ctr., 623 F.3d 1171 (7th Cir. 2010), and Fuqua v. Ryan, 890 F.3d 838 (9th Cir. 2018),
      are inapposite. The Plaintiffs correctly report Fletcher’s language that “administrative rem-
      edies that offer no possible relief in time to prevent [] imminent danger from becoming
      an actual harm can’t be thought available.” 623 F.3d at 1173. Two problems for them with
      that, though. For one thing, the continued viability of that passage is doubtful post-Ross,
      whose exhaustive list did not include an imminent-danger exception. But even if Fletcher
      survives intact, its actual holding—that the plaintiff failed to exhaust—undermines the
      Plaintiffs’ reliance on it. Granted, the Seventh Circuit recognized an imminent-danger
      exception, but it explained that that “does not excuse a prisoner from exhausting remedies
      tailored to imminent dangers.” Id. at 1175. The plaintiff had such a remedy—an emergency
      grievance procedure for prisoners with an urgent need of medical attention. Id. at 1174.
      The court saw “no reason to think that the [emergency] grievance procedure would take
      longer than judicial procedure,” so the imminent danger “did not excuse the plaintiff’s
      failure to exhaust.” Id. at 1175. MDCR too has an emergency grievance procedure (that the
      Plaintiffs didn’t use), see supra, at 4-5, so Fletcher wouldn’t salvage the Plaintiffs’ excuse
      anyway.
           The Plaintiffs’ reliance on Fuqua is based on failing to read until the end of the deci-
      sion. The Ninth Circuit didn’t hold that the administrative procedure was unavailable
      because “it required 30-day notice but unconstitutional requirement would occur in 72
      hours.” Compl. ¶ 106 (citing Fuqua, 890 F.3d at 848). Its holding wasn’t based on the tim-
      ing at all. Rather, two pages later, in a section titled “Only Available Remedies Must Be
      Exhausted,” the court, invoking Ross’s second exception, held that the procedure at issue
      was “precisely the sort of ‘essentially unknowable’ procedure that the Ross Court had in
      mind.” Fuqua, 890 F.3d at 850 (emphasis added).
           The Plaintiffs muster no authority to support creation of this excuse. No matter
      which way you slice it, the ﬁrst excuse fails to overcome the exhaustion requirement.
           b. Even accepting as true the Plaintiffs’ alternative excuse—that their repeated re-
      quests for grievance forms were denied on the grounds that there were no forms availa-
      ble—would not necessarily relieve them of the obligation to exhaust. The Plaintiffs allege,
      “To the extent a small amount of forms became available on the day before this ﬁling, many



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      Petitioners/Plaintiffs were not able to access them, and no one was able to access enough
      of them to submit a grievance on each issue.” Compl. ¶ 105. This allegation concedes an
      important point: Some number of Plaintiffs did have access to blank forms on April 4,
      which would have allowed those Plaintiffs to grieve at least some issues. But the Plaintiffs
      don’t allege that any of them ﬁled a grievance on April 4. All they can do to attempt to
      justify why that is, is loop back to their defunct “imminent danger” excuse.
            To the extent the Plaintiffs claim that some of them were able to ﬁle grievances on
      April 3, that still wouldn’t solve their no-exhaustion problem. The PLRA “requires proper
      exhaustion” of an issue before bringing suit, which “means using all steps that the [facil-
      ity] holds out, and doing so properly,” to allow the facility an opportunity to address the
      issue on the merits. Woodford, 548 U.S. at 90, 93 (emphasis added) (cleaned up). Even the
      Plaintiffs who allegedly ﬁled grievances on April 3 did not properly use all of MDCR’s pro-
      vided steps. They didn’t wait for the facility’s response to whatever grievances they ﬁled.
      And, if that response was a denial, they didn’t appeal it. Put simply, no Plaintiff used all the
      steps MDCR holds out—properly or otherwise—so there is no vicarious exhaustion to
      impute to the putative class. All Plaintiffs, therefore, have failed to satisfy the exhaustion
      requirement, so Count I should be dismissed at Turner step one.
            Charitably, however, if the Court believes that the allegations of denials of requests
      for grievances for lack of blank grievance forms could lead to a ﬁnding that the grievance
      process was not available under the third circumstance described in Ross, see 136 S. Ct. at
      1859-60, dismissal at step one would not be appropriate.
                  2.    The County’s evidence reveals that the Plaintiffs’ convenient,
                        conclusory allegations are not credible.
            Should the Plaintiffs’ allegations not entitle the County to dismissal at step one, the
      Court must proceed to step two, where it resolves credibility issues and makes factual ﬁnd-
      ings based on the evidence. See Bryant, 530 F.3d at 1377-78. The County’s evidence un-
      equivocally shows that none of the seven Plaintiffs ﬁled a single grievance regarding their
      conditions of conﬁnement or Metro West’s alleged inaction in response to the threat of
      COVID-19. The Plaintiffs’ unsworn allegations are not credible. They failed to start—much
      less complete—MDCR’s established administrative process and necessarily failed to ex-
      haust under the PLRA.
            A plaintiff who claims that “prison officials prevent[ed] them from exhausting . . .
      must have some supporting proof of [their] assertions.” Kingcade v. Parker, 949 F. Supp. 2d


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      1232, 1239 (S.D. Fla. 2013) (emphasis added) (cleaned up). Yet the Complaint offers no
      proof. The Defendants’ evidence relating to exhaustion, on the other hand, shows that
      grievance forms were, in fact, available, but the Plaintiffs never ﬁled any.
           First off, the Plaintiffs cannot feign ignorance of the grievance process. Each one
      signed an Inmate Orientation Statement upon his arrival at Metro West, conﬁrming,
      among other things, that he received a copy of the Inmate Handbook and that he under-
      stood he was to comply with its rules and regulations—including those governing griev-
      ances. See Inmate Orientation Statements (Composite), attached as Exhibit 3.
           Plaintiffs’ unsubstantiated claim that there were no grievance forms available is re-
      futed handily by declarations, sworn to under penalty of perjury, from two MDCR em-
      ployees: Reentry Program Services Bureau Inmate Services Administrator Reynaldo
      Romero, and Metro West Correctional Counselor Supervisor Terrence Mathews. See Dec-
      laration of Reynaldo L. Romero, attached as Exhibit 4; Declaration of Terrence Mathews,
      attached as Exhibit 5. Romero’s declaration attaches an Inmate Grievance Report, which
      shows all grievances ﬁled across MDCR’s multiple facilities between the ﬁrst of the year
      and April 10, ﬁve days after the Plaintiffs ﬁled this suit. Romero Decl. ¶ 4 & Ex. A. As sum-
      marized in the table on the next page, this report reveals that in the two weeks before this
      litigation began (March 22 through April 5), twenty-two Metro West inmates ﬁled a total
      of twenty-nine grievances—with at least one grievance ﬁled every day except April 4:

             Date              Inmate Name                              Grievance Type
          3/22/2020      Terrance Byrd                     complaint against mental health staff
          3/23/2020      Brandon Pop                       personal property
          3/23/2020      Alex Brown                        staff complaints
          3/24/2020      Mark Welch                        food services
          3/25/2020      Amaury Perez-Gonzalez             emergency grievance for dental care
          3/26/2020      Sosthene Louis                    sanitation/cleanliness
          3/27/2020      Nicholas Garcia                   staff complaints
          3/27/2020      Enrique Lexte-Vidal               personal property
          3/28/2020      Antoinette March                  facility operations
          3/28/2020      Arlene Antoine                    facility operations
          3/28/2020      Mark Welch                        food services
          3/29/2020      Clinton Bingham                   staff complaints
          3/30/2020      Justin Earnshaw                   food services
          3/31/2020      Rudolph Gonzalez                  personal property
                                                           emergency grievance for sexual
          4/1/2020       Dashera Davis
                                                           abuse/harassment
          4/1/2020       Arlene Antoine                    facility operations


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          Date (cont’d)      Inmate Name (cont’d)                  Grievance Type (cont’d)
          4/1/2020        Carlos Escutary                inmate ﬁnance
          4/1/2020        Carlos Escutary                inmate ﬁnance
          4/1/2020        Mike Neal                      legal
          4/1/2020        Mike Neal                      sanitation/cleanliness
          4/2/2020        Tiwa Owonibi                   emergency grievance for medical care
          4/3/2020        Luis Montalvan                 personal property
          4/3/2020        Sherman Douglas                mail
          4/3/2020        Samuel Thomas                  food services
          4/3/2020        Jimmie Evans                   sanitation/cleanliness
          4/3/2020        William Earnshaw               facility operations
          4/3/2020        Mike Neal                      staff complaints
          4/3/2020        Mike Neal                      staff complaints
          4/5/2020        Mike Neal                      staff complaints

      See Romero Decl. Ex. A., at 15-18. Romero’s declaration and this report also show that the
      Plaintiffs’ allegation that some of them “were able to file a grievance on April 3, 2020”
      (Compl. ¶ 105) lacks merit. He attests that none of the seven Plaintiffs ﬁled a grievance
      between January 1 and April 10. Romero Decl. ¶ 6.
           Next up is Mathews, who declares under penalty of perjury that blank grievance
      forms are, and always have been, available to inmates at Metro West. Mathews Decl. ¶ 3.
      He explains that each housing unit at Metro West contains a box of blank grievance forms
      that are regularly restocked by counselors. Id. ¶ 5. Each correctional officer and counselor
      also carries blank forms that an inmate can ask for at any time. Id. ¶ 6. If a counselor has
      no copies on his or her person and the box is empty, she can print a new blank form to give
      to an inmate upon request. Id. ¶ 7. It is part of Mathews’s duties to periodically check the
      number of blank forms available at the facility and, when supplies are running low, to go
      to MDCR headquarters to pick up a new batch. Id. ¶ 8. As a matter of fact, supplies were
      recently getting low, so on or around April 3, he brought a box containing approximately
      2,000 blank grievance forms from headquarters to Metro West. Id. ¶ 9.
           These declarations stand in stark contrast to the Plaintiffs’ self-serving allegations
      that they have set forth “no details whatsoever to support,” such as when they requested
      grievance forms or the name of any Metro West official who denied a request. Teran v. Johns,
      No. 17-0009, 2017 WL 4678220, at *4 (S.D. Ga. Oct. 17, 2017), report and recommendation
      adopted, 2017 WL 6028400 (S.D. Ga. Dec. 5, 2017). The court in Teran dismissed the plain-
      tiff’s complaint for failure to exhaust because he didn’t shore up his “bald[] state[ment]
      that ‘prison officials’ failed to provide him grievance forms,” id.—a statement oddly remi-


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      niscent of the Plaintiffs’ “[j]ail employees denied their requests,” Compl. ¶ 105. See also,
      e.g., Louis-Charles v. Baker, No. 16-1417, 2018 WL 5728054, at *6 (N.D.N.Y. July 30, 2018)
      (“[P]laintiff has not introduced evidence that grievance forms were unavailable through-
      out [the facility], nor has plaintiff speciﬁed who informed him that there were no griev-
      ances in the cell block or that corrections officers were not permitted to issue the forms
      absent supervisor approval, or when these statements were made.” (cleaned up)), report
      and recommendation adopted, 2018 WL 4299982 (N.D.N.Y. Sept. 10, 2018).
            Closer to home, just last month a court in the Middle District of Florida saw right
      through allegations as transparent as the Plaintiffs’. See Filmore v. Cooper, 18-0955, 2020
      WL 1275385, at *6 (M.D. Fla. Mar. 17, 2020) (“Plaintiff’s contention that he was unable
      to obtain formal grievance forms is not only conclusory but is not credible.”). The plaintiff
      provided no factual detail explaining the steps he took to obtain grievance forms, “such
      as who he asked, how many times he asked, or whether he took other measures to obtain
      the forms.” Id. And while the court thought it plausible that one or a few employees may
      have declined to physically hand the plaintiff a grievance form, it found implausible the
      plaintiff’s statements “that absolutely no grievance forms were available throughout the
      prison,” or “that multiple employees would have refused Plaintiff grievance forms given
      employees are subject to discipline for such conduct.” Id.
            The same results from Teran and Filmore should obtain here. Every detail those plain-
      tiffs neglected to provide are details the Plaintiffs too have not provided. Further, MDCR
      counselors, like the employees in Filmore, would be subject to discipline for refusing to
      hand over grievance forms, as Mathews attests. Mathews Decl. ¶¶ 10-11. It deﬁes belief
      to imply, as the Plaintiffs do, that counselors would be willing to risk discipline and jeop-
      ardize the security of their jobs—at a time of rampant unemployment, no less—over some-
      thing as trivial as handing an inmate a grievance form.
            As incredible as the allegations in these cases were, one would have to multiply the
      incredulity by seven to approach the absurdity of the Plaintiffs’ allegations. Without one
      nonconclusory factual detail, they expect the Court to believe that Metro West employees
      in three different units thwarted every one of all seven Plaintiffs’ attempts to ﬁle grievances
      by refusing them forms because the facility had none available—plus no way to print any
      new ones. In short, these are nothing more than “bald assertions that attempts at exhaus-
      tion were thwarted by jail staff,” which courts ﬁnd “insufficient to overcome evidence of



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      lack of exhaustion.” Kingcade, 949 F. Supp. 2d at 1239.
           The Plaintiffs’ claims of unavailability “readily wither when subjected to the crucible
      of examination the second Turner step requires.” Teran, 2017 WL 4678220, at *4. In the
      light of the evidence the County has provided, the Court should make two factual ﬁndings.
      One, the administrative process was fully available to the Plaintiffs. And two, no Plaintiff
      ﬁled a grievance complaining about COVID-19 or his conditions of conﬁnement prior to
      the ﬁling of this lawsuit. Those factual ﬁndings will lead to one inexorable conclusion:
      the Plaintiffs failed to exhaust available administrative remedies.
                                              CONCLUSION
           Seven Plaintiffs ﬁled zero grievances and then ﬁled a class action lawsuit in federal
      court. That is the opposite of what Congress had in mind when it enacted the PLRA.
      Accordingly, the Court should dismiss Count I of the Complaint for failure to exhaust
      administrative remedies. And as “[t]here is no question . . . that unexhausted claims can-
      not be brought in court,” Jones, 549 U.S. at 211, the dismissal should be with prejudice.


      Dated: April 21, 2020.                            Respectfully submitted,
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                                    CERTIFICATE OF SERVICE
           On April 21, 2020, I electronically ﬁled this document with the Clerk of Court via
      CM/ECF and served a copy on all counsel of record via CM/ECF.

                                                               /s/ Zach Vosseler
                                                               Zach Vosseler
                                                               Assistant County Attorney




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